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                Exhibit A
Filing Case 1:23-cv-20114-JAL Document 1-1 EnteredIN
       # 162769133  E-Filed 12/09/2022 04:41:31 PM on FLSD Docket 01/11/2023
                                                      THE CIRCUIT   COURT OF Page
                                                                               THE2 of 59
                                                                                    11TH
                                                                 JUDICIAL  CIRCUIT,  IN  AND             FOR
                                                                 MIAMI-DADE COUNTY, FLORIDA

                                                                 CASE NO.
        ISIDRO SUAREZ, MARIBEL ALMAGUER,
        MARTHA MORO, and MARIA L. ALMAGUER,
        on behalf of themselves and all others
        similarly situated,

                 Plaintiff,

        -vs-

        NATIONSTAR MORTGAGE, LLC,
        d/b/a Mr. Cooper

              Defendants.
        ____________________________________

                                          CLASS ACTION COMPLAINT

                 Plaintiffs ISIDRO SUAREZ, MARIBEL ALMAGUER, MARTHA MORO, and MARIA

        L. ALMAGUER (“Plaintiffs”), on behalf of themselves, and all others similarly situated, files this

        action against NATIONSTAR MORTGAGE, LLC, d/b/a Mr. Cooper (“NATIONSTAR”), for its

        violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq., (“FDCPA”),

        Sections 559.72(9), Florida Statutes (“Florida Consumer Collection Practices Act” or “FCCPA”),

        and Fl.Stat. 701.04. In support Plaintiffs allege the following:

                                                  INTRODUCTION

                 1.      Plaintiff and Class Members are Florida homeowners whose homes have been in

        foreclosure. NATIONSTAR is servicer of Plaintiff’s and Class Members’ underlying homeowner

        mortgage loans and enforces, and regularly acts as, a debt collector of Plaintiff’s and Class

        Members’ mortgage loans.

                 2.      In its servicing of mortgage loans, NATIONSTAR has routinely and systematically

        charged homeowners, including Plaintiff and Class Members, fees via standardized statements

        (“Payoff Statements”) it has sent them that list the amounts it requires for them to pay off their

        loans.



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Case 1:23-cv-20114-JAL
         3.                Document
               In its servicing        1-1 Entered
                                of mortgage           on FLSD
                                            loans, through     Docket
                                                           Payoff      01/11/2023
                                                                  Statements       Page 3has
                                                                             NATIONSTAR   of 59

   also routinely and systematically charged homeowners, including Plaintiff and Class Members,

   improper and excessive costs not otherwise allowed by the loan documents executed by the

   homeowners, including such fees as “Winterization” fees for Florida residents, property

   preservation fees wherein the homeowners remain in the property, third party property

   preservation fees wherein the homeowners remain in the property, payoff quote fees,

   documentary stamp taxes wherein no such fees are due and outstanding, and hazard inspection

   fees wherein the homeowners remain in the property. These fees were charged to the Plaintiffs

   and have otherwise been charged to other homeowners in the State of Florida.

          4.      These fees and the manner NATIONSTAR discloses them are unlawful.

          5.      The mortgage instruments of Plaintiff and Class Members only authorize charges

   for fees actually incurred for services actually performed or otherwise contemplated by the loan

   documents. Fees such as “Winterization” are illusory by nature and for which NATIONSTAR

   otherwise rendered no services, and the other fees are otherwise not contemplated or sanctioned

   by the loan documents. Also, the FDCPA requires debt collections to represent debt information

   in a non-misleading manner and not to misrepresent amounts owed.               The subject Payoff

   Statements violate these proscriptions.

          6.      For the foregoing conduct as detailed more fully below, Plaintiff brings two

   counts: Count I for NATIONSTAR’s violation of the FDCPA; and Count II for NATIONSTAR’s

   violation of the FCCPA. Defendant violated Plaintiffs’ and Class Members’ substantive rights

   under these statutes, causing Plaintiffs and the putative Class Members cognizable injuries,

   giving rise to this action for statutory damages under them.

                                     JURISDICTION AND VENUE

          7.      Jurisdiction and venue for purposes of this action is conferred by Chapter 559,

   Florida Statutes.




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Case 1:23-cv-20114-JAL
         8.               Document
               Plaintiffs are Florida 1-1   Entered
                                       residents whoonmaintain
                                                       FLSD Docket   01/11/2023andPage
                                                               their homestead          4 of 59in
                                                                                   residence

   Miami-Dade County, Florida.

           9.     At all times material, Plaintiffs were the owner of real property located at 4470 S.W.

   1st Street, Miami, Florida 33134.

           10.    At all times material, Defendant is a foreign limited liability corporation which is

   engaged in substantial and not isolated activity within this state, and is otherwise subject to the

   jurisdiction of this Court pursuant to Fl.Stat. 48.193. Also, at all times material to this action,

   Defendant has maintained voluntary, continuous, and systematic contacts with Florida including local

   offices and operations in Florida, transacting substantial and regular mortgage servicing, foreclosure,

   and debt collection business in or affecting Florida, including of Plaintiff’s loan in this County and

   other mortgage loans on residential properties including those of Class Members in this County and

   in Florida, making it foreseeable NATIONSTAR would be subject to this Court’s jurisdiction.

           11.    Venue is proper in this County under Chapter 47, Florida Statutes, including but

   not limited to Fl.Stat. 47.011.

           12.    All conditions precedent to the filing of this action, if any, have been performed,

   have occurred, or have been waived.

                                               PARTIES

           13.    Plaintiffs are consumers who jointly own a home in this County. Plaintiffs are

   subject to the mortgage loan on that home memorialized by the standardized Uniform Instrument

   for a single-family home as the borrower.

           14.    Each Class Member has entered this same form instrument or a substantially and

   materially similar standardized mortgage instrument as Plaintiff, or is otherwise subject to the

   standardized mortgage instrument for the purposes of being subject to foreclosure.

           15.    The fees NATIONSTAR charged Plaintiff relating to the subject mortgage loan

   and the mortgage loans of Class Members alleged throughout this complaint are the subject of

   this suit.


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Case 1:23-cv-20114-JAL
         16.   Defendant’sDocument   1-1 Entered
                           role of mortgage servicer on FLSD
                                                     meant thatDocket  01/11/2023
                                                               it was responsible     Page 5 of 59
                                                                                  for preparation

   of items concerning the Note and Mortgage including, but not limited to, preparing and sending

   monthly statements, accounting for credit and debits on the Note, calculating, collecting, and

   disbursing escrow amounts, sending notices, overseeing the judicial foreclosure process including

   providing information for the same, and calculating payoff figures and transmitting payoff

   figures.

            17.   NATIONSTAR has regularly acted as a mortgage servicer and collector of

   mortgage loan debts in Miami-Dade County and the State of Florida and has sent Plaintiff and

   Class Members Payoff Statements imposing on them improper fees for payoffs of their loans

   here.

            18.   Whenever in this complaint reference is made to any act or omission of an entity

   defendant, such allegations shall be deemed to mean that the directors, officers, agents,

   employees, distributors, partners, contractors, third-party contractors, agencies or representatives

   of said entity defendant, did authorize or command such act or omission while actively engaged

   in the management, operation, control or representation of the affairs of said entity defendant,

   partnership or entity, and while acting within the course and scope of their agency, distributorship,

   contract, employment, representation and capacity.

                                           APPLICABLE LAWS

                                                   FDCPA

            19.   The purpose of the FDCPA is “to eliminate abusive debt collection practices . . . to

   promote consistent State action to protect consumers against debt collection abuses…” 15 U.S.C.

   §1692.

            20.   The FDCPA generally prohibits debt collectors, including SHELLPOINT, from

   using “any false, deceptive, or misleading representation or means in connection with the

   collection of any debt” [§ 1692e], and the use of “unfair or unconscionable means to collect or

   attempt to collect any debt.” 15 U.S.C. § 1692f, including, but not limited to:



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Case 1:23-cv-20114-JAL      Document
         a. False representations       1-1 Entered on
                                  or misrepresentations of FLSD   Docket amount,
                                                           “the character, 01/11/2023   Page
                                                                                  or legal     6 of
                                                                                           status of 59

           any debt.” Id. at § 1692e(2)(A);

           b. False representations or misrepresentations of any “compensation which may be

           lawfully received by [the] debt collector for the collection of a debt.” 15 U.S.C. §

           1692e(2)(B);

           c. “The collection of any amount (including any interest, fee, charge, or expense

           incidental to the principal obligation) unless such amount is expressly authorized by the

           agreement creating the debt or permitted by law.” Id. at § 1692f (1); and,

           d. “The use of any false representation or deceptive means to collect or attempt to

           collect” a debt. Id. at § 1692e (10).

                                                   FCCPA

           21.    The purpose of the FCCPA is to “provide the consumer with the most protection

   possible.” LeBlanc v. Unifund CCR Partners, 601 F.3d 1185, 1192 (11th Cir. 2010) (citing §

   559.552, Fla. Stat.).

           22.    Like the FDCPA, the FCCPA prohibits persons, including SHELLPOINT, from

   engaging in certain abusive practices in the collection of consumer debts. See generally § 559.72,

   Fla. Stat.

           23.    Specifically, the FCCPA states that no person, including SHELLPOINT, shall

   “claim, attempt, or threaten to enforce a debt when such person knows that the debt is not

   legitimate, or assert the existence of some other legal right when such person knows that the right

   does not exist.” §559.72(9), Fla. Stat.

                     FACTUAL ALLEGATIONS RELATING TO PLAINTIFF

           24.    On or about November 14, 2006, Plaintiffs Isidro Suarez, Maribel Almaguer,

   Martha Moro, and Maria L. Almaguer purchased a home in Florida through a $432,600.00 loan

   from Lehman Brothers Bank, FSB, secured by a mortgage on the property. A copy of the



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  Borrower’s mortgage loanDocument
                           agreement 1-1   Entered
                                     is attached    on FLSD
                                                 as Exhibit   Docket
                                                            ‘A’.     01/11/2023
                                                                 A copy             Page
                                                                        of the mortgage   7 of
                                                                                        note is 59

   attached as Exhibit ‘B’. The mortgage loan agreement is a Fannie Mae/Freddie Mac Uniform

   Instrument (Form 3010) for Florida.

          25.    Payoff Statement to Plaintiff. On or about December 7, 2022, NATIONSTAR, by

   and through their agent, LOGS Legal Group, LLC, provided a response to Plaintiff’s request for a

   payoff figure, by mailing Plaintiff a standardized Payoff Statement. A copy of the Payoff

   Statement is attached as Exhibit ‘C’.

          27.    The “Total Payoff” necessary to release the lien was for the total amount of

   $694,272.87. This included a table showing fee details that Plaintiff was required to remit to pay

   off the mortgage loan.

          28     Among the array of fees required to pay off the loan, in the Payoff Statement

   NATIONSTAR imposed the following fees:

          Winterization (Servicer)                            $75.00
          Property Preservation                               $2,712.50
          Third Party Reconveyance Preparation Fee            $20.00
          Payoff Quote Fee (Servicer)                         $50.00
          Documentary Tax Stamps                              $48.60
          Hazard Inspection (Servicer)                        $35.00

   These fees were illusory in nature or otherwise not contemplated by the plain terms of the loan

   documents. For example, the Winterization is fee is nonsensical given that the subject property is

   located in South Florida, with this fee and the other fees bearing no rational relationship to an

   actual fee in underlying matter and was a made-up, marked-up additional fee for which

   NATIONSTAR rendered or received no services, utilized estimate fees, or otherwise was not

   authorized to charge under the loan documents.

                        NATIONSTAR’S UNIFORM COURSE OF CONDUCT

          29.    Plaintiff’s experience is not unique. NATIONSTAR has regularly serviced and

   collected on the home mortgage debts of Class Members defined below, and in its servicing of

   their mortgage loans, NATIONSTAR has routinely and systematically charged Class Members,


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Case 1:23-cv-20114-JAL
  these                    Document
        same fees via standardized    1-1Statements
                                   Payoff  Entered on
                                                    andFLSD
                                                        mailedDocket 01/11/2023
                                                               them when          Page loans
                                                                         the underlying 8 of 59

   of Plaintiff’s and Class Members’ were in default.

          30.     Upon information and belief, NATIONSTAR tracks its general business practices

   as it relates to each member of the Class, including Plaintiff, electronically and maintains

   electronic records that are searchable regarding the loans and debts it collects and the mortgages

   it services and the fees it imposes and collects. Upon information and belief, NATIONSTAR

   tracks via electronic records their written requests for information, communications with them,

   and Payoff Statements.

          31.     As with Plaintiff, at the time NATIONSTAR acquired servicing rights to each

   Class Member’s loan, the loan was in default.               Thereafter, NATIONSTAR routinely

   communicated in writing with the property owner to collect this debt.

          33.     Each Class Member like Plaintiff has executed the standardized Fannie

   Mae/Freddie Mac Uniform Instrument (Form 3010) for a single-family home, or a substantially

   and materially similar standardized mortgage instrument, which, as stated above, only authorizes

   fees that are incurred and disbursed for services actually performed in connection with a default

   on the loan. Nevertheless, upon information and belief, NATIONSTAR as a matter of routine and

   general business practice sent the above-described form Payoff Statement imposing on them

   improper and unauthorized fees to pay off the mortgages loans.

          31.     NATIONSTAR’s Knowledge. Moreover, NATIONSTAR has systematically made

   the demands for the illusory and junk fees, when it knew these were not legitimate debts and fees

   and that it had no lawful right to collect from the borrowers.

          33.     NATIONSTAR maintains electronic records of the actual costs and fees associated

   with each borrower’s loan, including the loans of Plaintiff and Class Members. NATIONSTAR is

   a sophisticated mortgage loan servicer with compliance officers monitoring changes in the law

   and knowing the terms of mortgages it services and the statuses of debts and periodic payments it

   collects on them.



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         34.   Well beforeDocument 1-1Statements
                           the Payoff    Entered at
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                                                    FLSDthe
                                                          Docket 01/11/2023
                                                            Eleventh           Page
                                                                     Circuit held that9 the
                                                                                         of 59

   collection of “estimated” fees was illegal, because the mortgage instruments only allowed for fees

   actually incurred by the debt collector or servicer. The Eleventh Circuit reversed the district

   court’s grant of summary judgment on the FDCPA and FCCPA claims, opining, among other

   things, that the defendants were not permitted to charge “estimated” fees that had not yet incurred

   in their reinstatement of loan letter. Prescott v. Seterus, Inc., 635 Fed. Appx. 640, 647 (11th Cir.

   2015) (“[The defendants] violated the FDCPA and FCCPA by charging [the plaintiffs] estimated

   attorney’s fees that they had not agreed to pay in the security agreement.”). The same principle

   should and must apply to illusory fees, fees that never could be accrued or otherwise paid because

   of the nature of a payoff.

            35.   Similarly, well before the Payoff Statements at issue, at least one Court held that

   marking up fees beyond expenses incurred for services actually rendered stated a violation of the

   FDCPA. See Daniel v. Select Portfolio Servicing, LLC, 159 F. Supp. 3d 1333, 1336 (S.D. Fla.

   2016).

            36.   Well before the Payoff Statements at issue, the media and trade publications

   consistently warned the industry against including estimated fees in reinstatement of loan letters,

   particularly those in the Eleventh Circuit under Prescott. Some of those industry warnings are:

   a. 11th Circuit Finds Lender Violated FDCPA And Florida Law, Reverses Ruling, Lexis Legal
   News (Dec. 7, 2015) (“The appeals court found that Seterus violated the FDCPA and the FCCPA
   by charging Prescott estimated attorney fees and refused to affirm the District Court’s
   decision.”);

   b. Eleventh Circuit Issues Stern Warning Against Inclusion of Estimated Fees and Costs in
   Reinstatement Quotes, USFN (Jan. 4, 2016) (“The Prescott decision should cause any lender,
   loan servicer, or law firm that provides reinstatement quotes and/or figures to borrowers to
   examine its practices and procedures in order to determine whether or not information being
   provided to borrowers in reinstatement situations could potentially constitute a FDCPA violation
   (or a violation of state consumer protection law, such as the FCCPA). The Eleventh Circuit has
   sent a clear message to the financial services industry…”);

   c. Recent Eleventh Circuit Reversal Sparks Upward Trend in Estimated-Fee FDCPA Litigation,
   Lenderlaw Watch (Feb. 9, 2016) (“Concluding that the payoff quote was a demand for payment,
   [the Eleventh Circuit] held that the inclusion of fees that had not yet been incurred (even if
   expressly designated as such) was a demand for compensation not permitted by the plaintiff’s
   mortgage agreement. . . . [L]oan servicers should consider the impact of Prescott on their

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   communications        Document 1-1 Entered on FLSD Docket 01/11/2023 Page 10 of 59
                  with borrowers.”);

   d. News Alert: FDCPA Violations for Estimated Fees and Costs in Reinstatement and Payoff
   Quotes, Potestivo & Associates (April 15, 2016) (“The recent Appellate Court decision in
   Prescott, v. Seterus, Inc. . . . has gained nationwide notice. Although the decision is only binding
   on the Eleventh Circuit, it has opened the door and neatly laid the groundwork for other
   jurisdictions to give similar rulings in the future. Consequently, it is important for servicers and
   attorneys to be informed and proactive regarding their decisions when it comes to estimated fees
   and costs in reinstatement and payoff quotes.”); and,

   e. A Violation of the FDCPA – Estimating Attorney’s Fees in Reinstatement Figures, Legal

   League 100 Quarterly (Q2 2016) (“The federal courts have recently held that lenders may only

   charge for fees and expenses already incurred.”).

          37.     The Common Injury. The FDCPA and the FCCPA respectively create shared,

   substantive statutory rights for Plaintiff and Class Members.

          38.     The FDCPA creates a private right of action under 15 U.S.C. § 1692k. By the

   FDCPA Congress created shared, substantive statutory rights of Plaintiff and Class Members to

   be enforced privately, including,

          a. The rights to receive accurate information, representations, and disclosures, about

   debts, including the fees comprising them;

          b. The rights to receive information, representations, and disclosures, about debts,

   including the fees comprising them, that do not falsely or in a misleading manner state, or do not

   misrepresent, “the character, amount, or legal status of any debt;”

          c. The rights to receive information, representations, and disclosures, about debts,

   including the fees comprising them, that do not falsely or in a misleading manner state, or do not

   misrepresent, the fee “compensation which may be lawfully received by any debt collector for

   the collection of a debt;”

          d. The rights to be protected from unfair or unconscionable practices in collections of

   their debts, including, but not limited to, the right to be obligated for and subject to collection of

   debt amounts and fees only when expressly authorized by the agreement creating the debt or

   permitted by law; and,


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Case 1:23-cv-20114-JAL     Documentfrom
         e. The rights to protection 1-1 deceptive
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                                                   on FLSD  Docket 01/11/2023
                                                        of collecting               Page
                                                                      debts, including the 11 of 59
                                                                                            fees

    comprising them.

    See 15 U.S.C. §§ 1692, 1692e, 1692f, 1692k.

           38.     The FCCPA also creates a private right of action. See § 559.77, Fla. Stat. By enacting

    the FCCPA the Florida Legislature created shared, substantive statutory rights of Plaintiff and Class

    Members to be enforced privately, including, but not limited to, the rights to be protected from

    collection of their debts by (a) persons who know that the debts they are attempting collect from them

    are not legitimate or (b) persons that assert the existence of some legal right vis-à-vis their debts

    when such person knows that the right does not exist. §§ 559.72, 559.72(9), 559.77, Fla. Stat. 56. By

    NATIONSTAR’s imposition and representations in Payoff Statements of non-existent charges,

    NATIONSTAR violated the shared substantive rights of Plaintiff Class Members under the FCCPA,

    because in those statements NATIONSTAR attempted to collect debts when it knew,

           a. That it had no legal right to collect them or that the debts were not legitimate under the

    terms of Plaintiff’s and Class Members’ mortgage instruments; and,

           b. That it had no legal right to collect them or that the debts were not legitimate because

    they were not permitted by law.

                                      CLASS ACTION ALLEGATIONS

           39.    Plaintiffs asks to be designated as a “Class Representative,” and as Class
    Representative brings this action under Federal Rules of Civil Procedure 23(a) and (b)(3) on
    behalf of all other persons similarly situated—the “Classes” or “Class Members” defined as
    follows:

                                      FDCPA “Winterization” Fee Class

           Within the applicable statutes of limitation, all natural persons, (a) whose
           residences with addresses in Florida were mortgaged under the standardized
           Fannie Mae/Freddie Mac Uniform Instrument (Form 3010) or a substantially
           similar standardized residential mortgage instrument; (b) for whose mortgage
           loans under those instruments NATIONSTAR acquired servicing rights after the
           loans were in default; and (c) whom NATIONSTAR mailed a Payoff Statement
           after acquiring servicing rights, representing a “Winterization” fee among costs
           when no such cost was never or would be accrued.




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Case 1:23-cv-20114-JAL  Document
             FCCPA “Property        1-1 Entered
                             Preservation”,        on FLSD
                                            “Third Party     Docket 01/11/2023
                                                         Reconveyance              Page 12 of 59
                                                                      Preparation Fee”
                                and “Hazard Inspection Fee” Class

          Within the applicable statutes of limitation, all natural persons, (a) whose
          residences with addresses in Florida were mortgaged under the standardized
          Fannie Mae/Freddie Mac Uniform Instrument (Form 3010) or a substantially
          similar standardized residential mortgage instrument; (b) whose mortgage
          payments under those instruments NATIONSTAR collected; and (c) whom
          NATIONSTAR mailed a Payoff Statement, after acquiring servicing rights,
          representing a “Property Preservation Fee” or “Third Party Reconveyance
          Preparation Fee” and “Hazard Inspection” fee among costs when no such cost was
          never or would be accrued or should have been accrued wherein the homeowners
          resided and maintained the property.

                                          Fl.Stat. 701.04 Class

          Within the applicable statutes of limitation, all natural persons, (a) whose
          residences with addresses in Florida were mortgaged under the standardized
          Fannie Mae/Freddie Mac Uniform Instrument (Form 3010) or a substantially
          similar standardized residential mortgage instrument; (b) whose mortgage
          payments under those instruments NATIONSTAR collected; and (c) whom
          NATIONSTAR mailed a Payoff Statement, after acquiring servicing rights,
          representing a “Payoff Quote Fee” and “Documentary Tax Stamp” fee among
          costs when no such cost was permissible under the loan documents.

          40.     Plaintiff and Class Members reserve the right to amend the Class definitions as

   discovery proceeds and to conform to the evidence. Excluded from the Classes are persons whose

   Payoff Statements according to NATIONSTAR’s records were returned as undeliverable, persons

   whose mortgages were for commercial purposes, not for personal, family, or household purposes,

   and Defendant, and any subsidiary or affiliate of Defendant, and the directors, officers and

   employees of Defendant or its subsidiaries or affiliates, and members of the federal judiciary.

          40.     Numerosity (Rule 23(a)(1)). Plaintiff alleges on information and belief that the

   number of Class Members is so numerous that joinder of them is impractical. At this time,

   Plaintiff does not know the exact number of Class Members, but the members of the Classes will

   be easily ascertained through Defendant’s electronic records, data, and databases.

          41.     Commonality (Rule 23(a)(2)). There are common questions of law and/or fact that

   predominate over any questions affecting only individual members of the class. These

   predominant common questions of law and/or fact include the following:

          a.      Whether the Fannie Mae/Freddie Mac Uniform Instrument (Form 3010) or a

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   substantially             Document
                 similar standardized    1-1 Entered
                                      residential       on instrument
                                                  mortgage FLSD Docket    01/11/2023
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                                                                               by Borrower   13 of 59
                                                                                           and

    Class Members authorizes SHELLPOINT to impose “estimated” fees;

           b.     Whether the Fannie Mae/Freddie Mac Uniform Instrument (Form 3010) or a

    substantially similar standardized residential mortgage instrument executed by Plaintiff and

    Class Members authorizes NATIONSTAR to impose a “Winterization” fee.

           c.     Whether SHELLPOINT’s impositions of “Winterization” fees, when no such

    costs ever accrued, violate the FDCPA;

           d.     Whether SHELLPOINT’s impositions of “Winterization” fees, when no such

    costs ever accrued, violate the FCCPA;

           e.     Whether Plaintiff and Class Members are entitled to statutory damages under the

    FDCPA and the amounts thereof; and,

           f.     Whether Plaintiff and Class Members are entitled to statutory damages under the

    FCCPA and the amounts thereof.

           g.     Whether Plaintiffs and Class Members are entitled to damages under Fl.Stat.

    701.04 and the amounts thereof.

           42.    Typicality (Rule 23(a)(3)). The claims of the Class Representative are typical of

    the claims that would be asserted by other members of the Class in that, in proving her claims

    under the FDCPA and FCCPA, Plaintiff will simultaneously prove the claims of all Class

    Members. The rights afforded under the FDCPA and the FCCPA are the same for Plaintiff and

    Class Members. Plaintiff and each Class Member entered a substantially similar standardized

    mortgage instrument and was sent the standardized Payoff Statement described above by

    SHELLPOINT, when it was trying to collect a debt under that mortgage. If this conduct violates

    the FDCPA and the FCCPA, it does so not only for Plaintiff but for each Class Member.

    Moreover, any statutory damages awarded under those statutes will be formulaic.

           43.    Adequacy (Rule 23(a)(4)). The Class Representative is a legal entity whose

    mortgaged property is in Florida, and who has no conflicts of interest and will fairly and


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   adequately              Document
              protect and represent the1-1  Entered
                                        interests     on FLSD
                                                  of each     Docket
                                                          member of the01/11/2023   Page 14the
                                                                         Class. Additionally, of 59

    Class Representative is fully cognizant of its responsibility as Class Representative and has

    retained experienced counsel fully capable of, and intent upon, vigorously pursuing the action.

    Each class counsel has extensive experience in class and/or FDCPA or FCCPA claims in this

    District.

            44.    Predominance and Superiority Rule 23 (b)(3). The common questions identified

    above predominate over any questions of law or fact affecting only individual members of the

    Class. Moreover, class treatment is clearly superior to other available methods for the fair and

    efficient adjudication of this controversy.

                                                  COUNT I

                       (Fair Debt Collection Practices Act 15 USC §§ 1692e, 1692f)

            45.    Plaintiffs adopt and incorporate by reference paragraphs 1 through 44 above.

            46.    Plaintiffs and each Class Member was a “consumer” as defined by 15 U.S.C. §

    1692a(3) when each purchased a home by mortgage in Florida.

            47.    The mortgage loans of Plaintiff and Class Members are debts under the FDCPA

    because each is “an[] obligation or alleged obligation of a consumer to pay money arising out of

    a transaction . . . [that is]…primarily for personal, family, or household purposes.” 15 U.S.C. §

    1692a(5).

            48.    NATIONSTAR is a “debt collector” of those mortgage loans as defined by 15

    U.S.C. §1692a(6) because it regularly attempts to collect, and collects, amounts owed or asserted

    to be owed or due another, including the mortgage debts from Plaintiff and Class Members via

    Payoff Statements. The Payoff Statement described above indeed uniformly confirmed this by

    identifying NATIONSTAR as a debt collector. And NATIONSTAR acquired the servicing rights

    of Plaintiff and each Class Member’s mortgage after it was in default.

            49.    NATIONSTAR engaged in direct “communications” with Plaintiffs and Class

    Members as defined by 15 U.S.C. § 1692a(2) when it sent them or their representatives Payoff



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                           demanding 1-1 Entered
                                     money due foron FLSD Docket
                                                   reinstatement    01/11/2023
                                                                 or payoff of theirPage  15 of 59
                                                                                    mortgage

   loans.

            50.    The FDCPA creates a private right of action under 15 U.S.C. §1692k.

            51.    As stated, Congress created shared, substantive statutory rights of Plaintiff and

   Class Members to be privately enforced and protected under the FDCPA, which NATIONSTAR

   has violated. See 15 U.S.C. §§ 1692, 1692e, 1692f.

            52.    15 U.S.C. §1692e states, in relevant part,

            A debt collector may not use any false, deceptive, or misleading representation
            or means in connection with the collection of any debt. Without limiting the
            general application of the foregoing, the following conduct is a violation of
            this section:
            ……
            (2) The false representation of—
            (A) the character, amount, or legal status of any debt; or
            (B) any services rendered or compensation which may be lawfully received by
            any debt collector for the collection of a debt.
            ………

            (10) The use of any false representation or deceptive means to collect or
            attempt to collect any debt or to obtain information concerning a consumer.

            53.    15 U.S.C. § 1692f states, in relevant part,

            A debt collector may not use unfair or unconscionable means to collect or
            attempt to collect any debt. Without limiting the general application of the
            foregoing, the following conduct is a violation of this section:

            (1) The collection of any amount (including any interest, fee, charge, or expense
            incidental to the principal obligation) unless such amount is expressly authorized
            by the agreement creating the debt or permitted by law.

            53.    Based on the foregoing allegations, NATIONSTAR used deceptive means of

   collecting debts––the “Auctioneer Cost”––in violation of 15 U.S.C. § 1692e(10), because it

   represented them in Payoff Statements in a confusing, inaccurate manner, or in a manner that

   would likely mislead a consumer.

            54.    Based on the foregoing allegations, NATIONSTAR violated 15 U.S.C. §

   1692e(2)(A) because through its Payoff Statements imposing “Auctioneer Cost” fees, it falsely

   or in a misleading manner stated, or misrepresented, the amount, character, or status of the


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   amounts needed to payoffDocument     1-1 Class
                            Plaintiff’s and  Entered on FLSD
                                                  Members’     Docket
                                                           mortgage    01/11/2023 Page 16 of 59
                                                                    debts.

          55.     Based on the foregoing allegations, NATIONSTAR violated 15 U.S.C. §

   1692e(2)(B) when through its Payoff Statements imposing these fees, it falsely or in a

   misleading manner stated, or misrepresented, the compensation that it might lawfully receive

   from Plaintiffs and Class Members.

          56.     Based on the foregoing allegations, NATIONSTAR used unfair means of

   collecting amounts for “Winterization” fee and incorporating them in violation of 15 U.S.C. §

   1692f, because the amounts were not expressly authorized by Plaintiff’s and Class Members’

   mortgage instruments creating their debts as they must be under those instruments, or they were

   not permitted by law.

          57.     These violations of FDCPA caused injury to Plaintiffs and Class Members by

   violating the foregoing substantive FDCPA rights.

          58.     As a result of these violations, Plaintiffs and Class Members are entitled to

   statutory damages together with reasonable attorney’s fees and costs under 15 U.S.C. § 1692(k).

                                                COUNT II

                   (Florida Consumer Collection Practices Act § 559.72(9), Fla. Stat.)

          59.     Plaintiff adopts and incorporates by reference paragraphs 1 through 44 above.

          60.     Plaintiff and each Class Member was a “debtor” and “consumer” as defined by

   Section 559.55(8), Florida Statutes, when each purchased a home by mortgage in Florida. In

   Section 559.72, Florida Statutes, the FCCPA mandates that “no person” shall engage in certain

   practices in collecting consumer debts. NATIONSTAR is a “person” within the meaning of the

   FCCPA. Id.; see also § 1.01(3), Fla. Stat.

          61.     The mortgage loans of Plaintiff and Class Members are each a “debt” under the

   FCCPA because each one is “an[] obligation or alleged obligation of a consumer to pay money

   arising out of a transaction in which the money, property, insurance, or services which are the



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   subject of the transactionDocument   1-1forEntered
                              are primarily           onfamily,
                                               personal, FLSD orDocket 01/11/2023
                                                                 household purposes,Page 17 or
                                                                                    whether of 59

   not such obligation has been reduced to judgment.” § 559.55(6), Fla. Stat.

          62.     The FCCPA creates a private right of action. See § 559.77, Fla. Stat.

          63.     As stated above, the Florida Legislature created shared, substantive statutory rights of

   Plaintiff and Class Members to be enforced and protected privately under the FCCPA, which

   NATIONSTAR violated. §§559.72, 559.72(9), 559.77, Fla. Stat.

          64.     Under Section 559.72, Florida Statutes,

   In collecting consumer debts, no person shall:

   ……

          (9) Claim, attempt, or threaten to enforce a debt when such person knows that the
          debt is not legitimate or assert the existence of some other legal right when such
          person knows that the right does not exist.

          65.     Based on the foregoing allegations, NATIONSTAR violated Section 559.72(9),

   Florida Statutes, by attempting to collect these fees and incorporating them, when, as stated

   above, it knew that the fees, and as a corollary, the total amounts incorporating them, were not

   legitimate debts.

          66.     Based on the foregoing allegations, NATIONSTAR violated Section 559.72(9),

   Florida Statutes, by attempting to collect these fees incorporating them, when, as stated above, it

   knew it had no legal right to collect the fees, and as a corollary, no legal right to collect the total

   amounts incorporating them.

          67.     These violations of FCCPA caused injury to Plaintiff and Class Members by

   violating the foregoing substantive FCCPA rights.

          68.     As a result of these violations, Plaintiff and Class Members are entitled to

   statutory damages together with reasonable attorney’s fees and costs under Section 559.77,

   Florida Statutes.

                                                 COUNT III

                                              (701.04, Fla. Stat.)


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         69.               Document
                Plaintiff adopts       1-1 Entered
                                 and incorporates     on FLSD
                                                  by reference   Docket 01/11/2023
                                                               paragraphs              Page 18 of 59
                                                                          1 through 44 above.

           70.     Fl.Stat. 701.04 states, in pertinent part:

           (1) Within 14 days after receipt of the written request of a mortgagor, a record title owner of
           the property, a fiduciary or trustee lawfully acting on behalf of a record title owner, or any
           other person lawfully authorized to act on behalf of a mortgagor or record title owner of the
           property, the holder of a mortgage shall deliver or cause the servicer of the mortgage to
           deliver to the person making the request at a place designated in the written request an
           estoppel letter setting forth the unpaid balance of the loan secured by the mortgage.

           (a) If the mortgagor, or any person lawfully authorized to act on behalf of the mortgagor,
           makes the request, the estoppel letter must include an itemization of the principal, interest,
           and any other charges properly due under or secured by the mortgage and interest on a
           per-day basis for the unpaid balance.

           71.     As set forth in 701.04(1)(a), the servicer, acting on behalf of the mortgagor, was only

    allowed to set forth in the payoff letters “charges [that were] properly due under or secured by the

    mortgage….” However, NATIONSTAR elected to make charges that were not properly due under

    the mortgages, including but not limited to “Payoff Quote Fee” and “Documentary Tax Stamps”.

           72.     As a direct and proximate result of the imposition of these charges in violation of

    Fl.Stat. 701.04 and the loan documents, the Plaintiffs and Class Members would be required to pay

    improper fees to reinstate their loan and otherwise have these amounts in their final judgments.

           73.     The Plaintiffs and Class Members will have suffered damages in their inability to pay

    off their loans without paying improper fees, resulting in either nominal or actual damages. Plaintiffs

    seek recovery of same and otherwise seek a declaration that such fees are improper under the

    mortgage documents and Fl.Stat. 701.04.

                                   JURY DEMAND AND RESERVATION

           Plaintiff respectfully requests a trial by jury on all issues so triable.

                                            RELIEF REQUESTED

           WHEREFORE Plaintiff, on behalf of herself and the Class, respectfully requests this

    Court to award against NATIONSTAR in favor of Plaintiff and the Class all of the following: a.

    Certifying either Count I or Count II or Count III or all counts for class treatment under Federal

    Rules of Civil Procedure 23(a) and (b)(3), appointing Plaintiff as Class Representative, and



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   appointing                 Document
              Plaintiff’s attorneys       1-1 for
                                    as counsel Entered  on FLSD Docket 01/11/2023 Page 19 of 59
                                                  the Class;

          A.     A judgment for statutory damages under the FDCPA or the FCCPA or Fl.Stat.

   701.04;

          B.     A judgment for costs and reasonable attorney’s fees under the FDCPA or the

   FCCPA or Fl.Stat. 701.04; and,

          C.     Any other relief for Plaintiff and the Class the Court deems just and proper.

   Respectfully Submitted,

   BRUCE BOTSFORD, P.A.
   2524 Flamingo Lane
   Ft. Lauderdale, Florida 33312
   Telephone: (954) 663-7002
   E-Mail: service@botsfordlegal.com
          botslaw@gmail.com

   By: Bruce Botsford
   BRUCE BOTSFORD
   Florida Bar No. 31127




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                  EXHIBIT ‘C’
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                                                                                  Partners
            LOGS Legal Group LLP                                                  Gerald M. Shapiro (licensed in FL, IL)
            Attorneys at Law                                                      David S. Kreisman (licensed in IL)

                                                                                  Regional Partner
                                                                                  Ronald M. Gaché (licensed in FL)
            2424 North Federal Highway, Suite 360
            Boca Raton, Florida 33431
            Tel: (561) 998-6700 • Fax: (561) 998-6707

                                             Special Instructions

   The below instructions pertain to the "Payoff" quote (provided for settlement purposes only) that
                                    is following this announcement.

   Please note: A final judgment of mortgage foreclosure has already been entered in this case.
   Please be advised that remitting funds as instructed in the following letter will settle this action
   by our office attempting to vacate the judgment, discharge the lis pendens, and, thereafter,
   dismiss the action. No payment by you is in satisfaction of the foreclosure judgment. Instead,
   the following payoff amount represents the total amount necessary to settle this action. It is the
   responsibility of the recipient of this quote and payer of the funds to ascertain the date and time
   the clerk’s foreclosure sale is scheduled to take place, to assure that the correct amount is
   received in this office prior to the time of that foreclosure sale, and to insure that our office has
   sufficient time to obtain an order from the court canceling the foreclosure sale. Our office
   makes no representation regarding our ability to cancel the pending foreclosure sale.




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                                                                                 Partners
            LOGS Legal Group LLP                                                 Gerald M. Shapiro (licensed in FL, IL)
            Attorneys at Law                                                     David S. Kreisman (licensed in IL)

                                                                                 Regional Partner
                                                                                 Ronald M. Gaché (licensed in FL)
            2424 North Federal Highway, Suite 360
            Boca Raton, Florida 33431
            Tel: (561) 998-6700 • Fax: (561) 998-6707


   December 7, 2022

     This is NOT a demand for payment. This letter is provided for informational purposes
                                   only at your request.

   RE:    PAYOFF (provided for settlement purposes only)
          Isidro Suarez
          Servicer: Nationstar Mortgage LLC
          Property Address: 4470 Southwest 1st Street, Miami, FL 33134
          CXE Loan No.: 0599913746
          LLG Number.: 17-308662

   Dear Mortgagor:

   The undersigned firm represents the Plaintiff, U.S. Bank National Association, as Trustee,
   successor in interest to Wilmington Trust Company, as Trustee, successor in interest to Bank of
   America National Association, as Trustee, successor by merger to LaSalle Bank National
   Association, as Trustee for LEHMAN XS TRUST MORTGAGE PASS-THROUGH
   CERTIFICATES, SERIES 2007-3, in the above referenced legal action. Recently, you asked
   our firm for information concerning a settlement of the claims made against you in this lawsuit.
   As you know, a final judgment of mortgage foreclosure has already been entered in this case.
   Please be advised that remitting funds as instructed in this letter will settle this action by our
   office attempting to vacate the judgment, discharge the lis pendens and thereafter, dismiss the
   action. No payment by you is in satisfaction of the foreclosure judgment. Instead, the below
   amount represents the total amount necessary to settle this action as of December 9, 2022:

   UNPAID PRINCIPAL BALANCE                                        $529,917.22
   Interest Due Date: February 1, 2017
   INTEREST THROUGH 12/09/22                                       $113,649.90
   PROPERTY INSPECTIONS                                                $540.00
   APPRAISAL FEE                                                        $90.00
   NSF CHARGES                                                          $25.00
   PROPERTY PRESERVATION                                             $2,712.50
   Escrow Advance(s)                                                $35,772.05
   County Recording Fee                                                 $10.00
   Third Party Reconveyance Preparation Fee                             $20.00
   Payoff Quote Fee (Servicer)                                          $50.00
   Filing Fee/Complaint & Summons                                    $1,991.00
   Filing Fee/LIs Pendens                                                $9.00
   Service Costs                                                     $1,102.60
   Publication - Notice of Action                                      $245.00
   Title Search                                                         $60.00


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   Sale Publication                                                $735.00
   Clerk Cost - Sales Fees                                         $285.00
   Clerk Cost - Motion to Reset Sale                               $110.00
   Documentary Tax Stamps                                           $48.60
   Attorney Fee thru Sale                                        $4,350.00
   Attorney Fee - Additional work due
   to Hurricane Impacted Properties                                 $200.00
   Attorney Fee - Defendants Motion for Extension of Time           $250.00
   Attorney Fee - Court Appearance –
   Defendants Motion for Extension of Time                          $250.00
   Attorney Fee - Notice of Cancellation –
   Plaintiffs Motion to Reset Sale                                  $150.00
   Attorney Fee - Plaintiffs Motion to Withdraw
   Motion to Reset Sale                                             $150.00
   Attorney Fee - Court Appearance - Motion to Reset Sale           $250.00
   Attorney Fee - Prepare Motion to Cancel/Reset Sale               $250.00
   Attorney Fee - Plaintiffs Motion to Ratify Sale/Issue COT        $325.00
   Attorney Fee - Court Appearance - Plaintiffs
   Motion to Issue COT                                              $325.00
   Hazard Inspection (Servicer)                                      $35.00
   Winterization (Servicer)                                          $75.00
   Title Search (Servicer)                                          $290.00

   TOTAL AMOUNT DUE                                            $694,272.87

   Interest continues to accrue at $88.92 per day after 12/09/22.

   Should you wish to simply satisfy the foreclosure judgment, please contact the Clerk of the
   Court.

   Please be advised that we are continuing toward foreclosure sale until such time as the total
   due above is received in our office at the address specified in this letter. Funds received after
   the designated date and time of the clerk’s foreclosure sale will not be accepted. It is the
   responsibility of the recipient of this quote and payer of the funds to ascertain the date and time
   the clerk’s foreclosure sale is scheduled to take place, and assure that the correct amount is
   received in this office prior to that time and with sufficient time for our office to obtain an order
   from the court canceling the foreclosure sale. Our office makes no representation regarding our
   ability to obtain such an order prior to the scheduled sale.

   Please be advised that the amount you owe may change daily because of interest
   continuing to accrue on the principal balance of your mortgage loan and the imposition
   of other charges authorized by your loan documents. As a result, the amount to pay off
   your mortgage loan can increase after the date of this letter. Therefore, if you remit funds
   after the date of this letter, you must contact our office at (813) 880-8888 24 hours before
   sending any funds to verify that you are sending the correct amount. Failure to do so
   may result in our rejection of the pay off funds.

   Funds must be in the form of a WIRE TRANSFER OR CASHIER’S CHECK. If you need
   wiring instructions, please contact us at (813) 880-8888. In the event you pay by
   Cashier’s Check, that check should be made payable to Nationstar Mortgage LLC You
   must send your CASHIER'S CHECKS to the following address:
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                                      LOGS Legal Group LLP
                                    2424 North Federal Highway
                                             Suite 360
                                       Boca Raton, FL 33431

   After we receive and verify the funds, and the funds are received by our client and applied
   accordingly, we will seek to obtain a cancellation of the pending foreclosure sale (if one has
   been set) and obtain an order that vacates the final judgment (if one has been entered), returns
   the loan documents to your lender, dismisses the foreclosure lawsuit and lis pendens and
   directs the clerk to record that order.

   FOR ANY QUESTIONS OR FURTHER INFORMATION, PLEASE CALL OUR OFFICE AT
   (813) 880-8888.


   Sincerely,


   Danielle L. Ryer
   Legal Assistant
   Payoff/Reinstatement Dept.


   Pursuant to the Fair Debt Collection Practices Act, you are advised that this office may be
   deemed a debt collector and any information obtained may be used for that purpose.
